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A091 (Rev. 11/11) Criminal Complaint


                                    UNITED STATES DISTRICT COURT
                                                             for.the
                                                    District of New Mexico

                  United States of America                      )
                               V.                               )
                     Carlos A. Escudero                         )      Case No. MJ 21-1789 KK
                     D.O.B. xx-xx-1986                          )
                     SOC: xxx-xx-6619                           )
                                                                )
                                                                )
                         Defendant(s)


                                              CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of              December 1, 2021               in the county of              Bernalillo         in the
                      District of       New Mexico          , the defendant(s) violated:
            Code Section                                                  Offense Description
18.U.S.C. §§ 922 (g)(1) and 924              Being a convicted felon in possession of a firearm and ammunition.

21 U.S.C. §§ 841(a)(1) and (b)(1)            Possession with Intent to Distribute 50 Grams and More of a Mixture and
(B)                                          Substance Containing a Detectable Amount of Methamphetamine.




         This criminal complaint is based on these facts:
See Attached Affidavit




        � Continued on the attached sheet.




                                                                                Peter Andazola FBI Task Force Officer
                                                                                           Printed name and title

Sworn to before me and signed telephonically
or by other electronic means.

Date:             12/07/2021
                                                                                             Judge's signature

City and state:                Albuquerque, New Mexico                          Kirtan Khalsa, U.S. Magistrate Judge
                                                                                           Printed name and title
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